                                 United States District Court
                                Southern District of New York
Virginia L. Giuffre,

               Plaintiff,                       Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

               Defendant.

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   DECLARATION OF SIGRID S. MCCAWLEY IN SUPPORT OF PLAINTIFF’S
 SUPPLEMENT TO MOTION FOR ADVERSE INFERENCE INSTRUCTION BASED
                      ON NEW INFORMATION

         I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

       1.      I am a Partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s September 29, 2015

Order granting my Application to Appear Pro Hac Vice.

         2.    I respectfully submit this Declaration in Support of Plaintiff’s Supplement to

 Motion for Adverse Inference Instruction Based on New Information.

       3.      Attached hereto as Exhibit 1 is a true and correct copy of July 29, 2016,

Correspondence from Ty Gee.

       4.      Attached hereto as Sealed Exhibit 2 is a true and correct copy of Excerpt from

April 22, 2016, Deposition of Ghislaine Maxwell.

       5.      Attached hereto as Sealed Exhibit 3 is a true and correct copy of Excerpt from

July 22, 2016, Deposition of Ghislaine Maxwell.

       6.      Attached hereto as Sealed Exhibit 4 is a true and correct copy of Excerpts from

June 10, 2016, Deposition of                .
       7.      Attached hereto as Sealed Exhibit 5 is a true and correct copy of Excerpts from

June 21, 2016, Deposition of Detective Joseph Recarey.

       8.      Attached hereto as Sealed Exhibit 6 is a true and correct copy of Excerpts from

May 18, 2016, Deposition of

        9.     Attached hereto as Sealed Exhibit 7 is a true and correct copy of Excerpts from

 June 1, 2016, Deposition of Juan Alessi.

       10.     Attached hereto as Sealed Exhibit 8 is a true and correct copy of the sworn

testimony of                  .

       11.     Attached hereto as Exhibit 9 is a true and correct copy of Rule 45 Subpoena to

Microsoft.

       I declare under penalty of perjury that the foregoing is true and correct.



                                              /s/ Sigrid S. McCawley______________
                                              Sigrid S. McCawley, Esq.
Dated: August 8, 2016.

                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP

                                            By: /s/ Sigrid S. McCawley
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 This daytime business address is provided for identification and correspondence purposes only and is
not intended to imply institutional endorsement by the University of Utah for this private representation.


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 8th day of August, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served to all parties of record via transmission of the Electronic

Court Filing System generated by CM/ECF.

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                                                     /s/ Sigrid S. McCawley
                                                         Sigrid S. McCawley




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